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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


DERRICK LEE CARDELLO-SMITH,

                  Plaintiff,                     Case Number: 24-cv-12737
                                                 Hon. Brandy R. McMillion
v.

SEAN COMBS, ET AL.,

                  Defendants.
                                       /

                                 JUDGMENT

      IT IS ORDERED AND ADJUDGED that pursuant to this Court’s Opinion

and Order Dismissing Case Without Prejudice (ECF No. 9) entered on this date,

this cause of action is DISMISSED WITHOUT PREJUDICE.



                                           KINIKIA ESSIX
                                           CLERK OF COURT
                                           By: s/L. Hosking
                                           Deputy Clerk
Approved:
s/Brandy R. McMillion
BRANDY R. MCMILLION
United States District Judge
Dated: November 18, 2024
Detroit, Michigan
